

CWCapital Cobalt VR, Ltd. v CWCapital Invs. LLC (2022 NY Slip Op 06423)





CWCapital Cobalt VR, Ltd. v CWCapital Invs. LLC


2022 NY Slip Op 06423


Decided on November 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 15, 2022

Before: Manzanet-Daniels, J.P., Webber, Mazzarelli, Friedman, Shulman, JJ. 


Index No. 653277/18 Appeal No. 16663 Case No. 2021-04198 

[*1]CWCapital Cobalt VR, Ltd., Plaintiff-Respondent,
vCWCapital Investments LLC, et al., Defendants-Appellants.


Venable LLP, New York (Gregory A. Cross of counsel), for appellants.
Quinn Emanuel Urquhart &amp; Sullivan LLP, New York (Jonathan E. Pickhardt of counsel), for respondent.



Order, Supreme Court, New York County (Andrea Masley, J.), entered on or about September 7, 2021, which, to the extent appealed from, denied defendants' motion to renew their prior motion to dismiss the third, fifth, sixth, and eighth causes of action, unanimously affirmed, with costs.
The court properly denied defendants' motion to renew their motion to dismiss based on its finding that the orders in a related federal action (Matter of Trusts Established Under Pooling and Servicing Agreements Relating to Wachovia Bank Commercial Mortgage Trust Commercial Mortgage Pass-Through Certificates, Series 2007-C30 , 2020 WL 1304400, 2020 US Dist LEXIS 47847 [SD NY, March 19, 2020, No. 17-CV-1998 (KPF)], affd in part, revd in part sub nom. Appaloosa Inv. L.P.I. v Federal Home Loan Mtge. Corp. , 2022 WL 2720520, 2022 US App LEXIS 19424 [2d Cir, July 14, 2022, No. 20-1708]) issued after the denial of their motion to dismiss in this action, do not conclusively resolve all factual issues with respect to the "Stuy Town" claims asserted in the amended complaint. The order in the federal action, among other things, affirmed defendant CWCapital Asset Management LLC's entitlement to penalty interest. The Stuy Town claims here involve issues not premised entirely on the penalty interest issue or other issues resolved in the federal action.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 15, 2022








